         Case 21-32351 Document 24 Filed in TXSB on 07/13/21 Page 1 of 4




                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                         §
In re:                                                   § Chapter 11
                                                         §
LIMETREE BAY SERVICES, LLC, et al., 1                    § Case No. 21-32351 (DRJ)
                                                         §
                Debtors.                                 § (Jointly Administered)
                                                         §

    NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF ALL PLEADINGS

         PLEASE TAKE NOTICE that Rapp & Krock, PC (“Rapp & Krock”) and Davis Polk &

Wardwell LLP (“Davis Polk”) appear as counsel for an ad hoc group of lenders (the “Terminal

Lenders”) under the Terminal Entities’ 2 prepetition secured first lien term loan facility in the above-

captioned Chapter 11 cases pursuant to Rules 2002, 3017(a), 9007, 9010 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) and request that copies of any and all notices,

pleadings, motions, orders to show cause, applications, presentments, petitions, memoranda,

affidavits, declarations, and orders, or other documents, filed or entered in these cases, be

transmitted to:

             RAPP & KROCK, PC                                 DAVIS POLK & WARDWELL LLP
                    Henry Flores                                        Damian S. Schaible
                 Kenneth M. Krock                                        Elliot Moskowitz
          1980 Post Oak Blvd. Suite 1200                                 Aryeh Ethan Falk
                Houston, TX 77056                                        Jonah A. Peppiatt
            Telephone.: (713) 759-9977                                450 Lexington Avenue
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         Email: hflores@rappandkrock.com                            Telephone: (212) 450-4000
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                                                              Email: damian.schaible@davispolk.com


1
          The Debtors in these chapter 11 cases, along with the last four digits of each Debtors’ federal tax
identification number, as applicable, are: Limetree Bay Services, LLC (1866); Limetree Bay Refining Holdings,
LLC (1776); Limetree Bay Refining Holdings II, LLC (1815); Limetree Bay Refining, LLC (8671); Limetree Bay
Refining Operating, LLC (9067); Limetree Bay Refining Marketing, LLC (9222). The Debtors’ mailing address is
Limetree Bay Services, LLC, 11100 Brittmoore Park Drive, Houston, TX 77041.
2
          The Terminal Entities are: Limetree Bay Terminals, LLC, Limetree Bay Terminal Holdings, LLC,
Limetree Bay Terminal Holdings II, LLC, and Limetree Bay Cayman, Ltd.
         Case 21-32351 Document 24 Filed in TXSB on 07/13/21 Page 2 of 4




                                                        Email: elliot.moskowitz@davispolk.com
                                                          Email: aryeh.falk@davispolk.com
                                                         Email: jonah.peppiatt@davispolk.com

       PLEASE TAKE FURTHER NOTICE that this request includes not only the notices and

papers referred to in the Bankruptcy Rules and title 11 of the United States Code (the “Bankruptcy

Code”), but also includes orders and notices of any application, motion, petition, pleading, request,

complaint, or demand, whether formal or informal, whether written or oral, and whether

transmitted or conveyed by mail, courier service, hand-delivery, telephone, facsimile transmission,

electronically, or otherwise filed with regard to the above case.

       PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance nor any

prior or later appearance, pleading, claim, or suit shall waive any right of the Terminal Lenders to

(a) have final orders in non-core matters entered only after de novo review by a District Court

judge, (b) trial by jury in any proceeding so triable in this case or any case, controversy, or

proceeding related to this case, (c) have the District Court withdraw the reference in any matter

subject to mandatory or discretionary withdrawal, or (d) any other rights, claims, actions, defenses,

setoffs or recoupments, under agreements, in law, in equity, or otherwise, all of which rights,

claims, actions, defenses, setoffs, and recoupments are expressly reserved.




                                                 2
       Case 21-32351 Document 24 Filed in TXSB on 07/13/21 Page 3 of 4




DATED: July13, 2021               Respectfully submitted,

                                  RAPP & KROCK, PC

                                  By: /s/ Henry Flores
                                  Henry Flores
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                                  Kenneth M. Krock
                                  Texas State Bar No. 00796908
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                                  Houston, TX 77056
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                                  -and-

                                  DAVIS POLK & WARDWELL LLP
                                  Damian S. Schaible (pro hac vice pending)
                                  Elliot Moskowitz (pro hac vice pending)
                                  Aryeh Ethan Falk (pro hac vice pending)
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                                  COUNSEL FOR THE TERMINAL LENDERS




                                      3
        Case 21-32351 Document 24 Filed in TXSB on 07/13/21 Page 4 of 4




                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was served by
electronic mail via the Court’s ECF system to all parties authorized to receive electronic notice in
this case on July13, 2021.


                                              /s/ Henry Flores
                                              Henry Flores




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